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ATTORNEYS FOR PLAINTIFFS

                      UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH

                                           )
FREE SPEECH COALITION, INC.; D.S.          )
DAWSON; JOHN DOE; DEEP                     )
CONNECTION TECHNOLOGIES, INC.;
                                           )
CHARYN PFEUFFER; and JFF                            COMPLAINT FOR
PUBLICATIONS, LLC,                         )
                                           )        DECLARATORY AND
                                           )        INJUNCTIVE RELIEF
            Plaintiffs,
                                           )
                                           )        JURY DEMANDED
      v.
                                           )
JESS L. ANDERSON, in his official capacity )
as THE COMMISSIONER OF THE UTAH            )        CASE NO.: ____
DEPARTMENT OF PUBLIC SAFETY; and )
SEAN D. REYES, in his official capacity as )        JUDGE: ________
THE ATTORNEY GENERAL OF THE
                                           )
STATE OF UTAH,
                                           )
              Defendants.


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       Plaintiffs, by their undersigned attorneys, allege as follows:

                                       INTRODUCTION

1. Here we are again. After numerous federal court decisions invalidating as unconstitutional

   state and federal laws seeking to regulate or ban the publication of material harmful to

   minors on the internet, the Utah legislature has tried once more. The new law (“the Act”)

   places substantial burdens on Plaintiff website operators, content creators, and countless

   others who use the internet by requiring websites to age-verify every internet user before

   providing access to non-obscene material that meets the State’s murky definition of “material

   harmful to minors.” Specifically, and in relevant part, the Act provides that a “commercial

   entity that knowingly and intentionally publishes or distributes material harmful to minors on

   the Internet from a website that contains a substantial portion of such material shall be held

   liable if the entity fails to perform reasonable age verification methods to verify the age of an

   individual attempting to access the material.” UTAH CODE ANN. § 78B-3-1002. A

   commercial entity in violation “shall be liable to an individual for damages resulting from a

   minor's accessing the material, including court costs and reasonable attorney fees as ordered

   by the court.” Id.

2. Pursuant to 18 U.S.C. § 2201 and 2202, and 42 U.S.C. § 1983 and 1988, this action seeks

   declaratory and injunctive relief to vindicate rights, privileges, and immunities secured by the

   Constitution and laws of the United States. The Act violates the First and Fourteenth

   Amendments to, and the Commerce and Supremacy Clauses of, the United States

   Constitution, because it impermissibly burdens Plaintiffs’ exercise of their rights thereunder

   in myriad ways.


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3. The Act violates the First Amendment in several respects. First, it imposes a content-based

   restriction on protected speech that requires narrow tailoring to serve a compelling state

   interest, yet it does not substantially accomplish its stated purpose of protecting minors from

   so-called “harmful” material that they may easily obtain from other sources and via other

   means. Second, compelling providers of online content to place an age-verification content

   wall over their entire websites unconstitutionally labels them as “adult businesses,” with all

   the negative implications and ramifications that follow. And third, by requiring the use of

   some particularized approval method as a condition to providing protected expression, the

   Act operates as a presumptively-unconstitutional prior restraint on speech.

4. The Act violates the Fourteenth Amendment in myriad ways, too. First, because it fails to

   provide a person of ordinary intelligence fair notice of to whom the Act applies, what is

   required, and what is prohibited, the Act is thus impermissibly vague, violating the

   procedural component of the Due Process Clause. Second, the Act intrudes upon

   fundamental liberty and privacy rights without being properly tailored to serve the

   government’s interest, thus violating the substantive component of the Due Process Clause.

   Third, the Act’s exemption of certain news organizations draws impermissible content-based

   distinctions among persons engaged in free speech, violating the Equal Protection Clause.

5. The Act also significantly burdens interstate commerce by restricting the ability of providers

   of online content to communicate with Utah residents. This burden is clearly excessive in

   comparison to the limited local benefit provided by the Act and the availability of less

   restrictive alternative means of protecting children from erotic content.




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6. Finally, by treating website operators as the publishers of material hosted on their websites

    but produced by other content providers, the Act stands in direct conflict with 47 U.S.C.

    § 230 (“Section 230”) and is therefore preempted by that supreme federal law.

7. This attempt to restrict access to online content is not novel. The United States Supreme

    Court invalidated a federal law restricting internet communications deemed harmful to

    minors on First Amendment grounds in Reno v. ACLU, 521 U.S. 844 (1997). The Third

    Circuit invalidated a second such federal law on First Amendment grounds in ACLU v.

    Mukasey, 534 F.3d 181 (3rd Cir. 2008), cert. denied, 555 U.S. 1137 (2009). And in state after

    state, laws containing content-based restrictions on internet communications deemed harmful

    to minors have been held unconstitutional.1

8. Despite this long legacy of constitutional invalidity, the Utah State Legislature enacted the

    Act and the Governor signed it into law—rendering it effective on May 3, 2023. Now,

    providers (including Plaintiffs) are in the untenable position of abiding by the Act’s terms

    and enduring the constitutional infringement, or violating the Act and risking lawsuits.




1
 See, e.g., Garden Dist. Book Shop, Inc. v. Stewart, 184 F. Supp. 3d 331 (M.D. La. 2016)
(Louisiana), American Booksellers Foundation v. Sullivan, 799 F. Supp. 2d 1078 (D. Alaska
2011) (Alaska), American Booksellers Foundation v. Coakley, 2010 WL 4273802 (D. Mass.
2010) (Mass.); PSINet, Inc. v. Chapman, 362 F.3d 227 (4th Cir. 2004) (Virginia), American
Booksellers Foundation v. Dean, 342 F.3d 96 (2d Cir. 2003) (Vermont), Cyberspace
Communications, Inc. v. Engler, 238 F.3d 420 (6th Cir. 2000) (Michigan), ACLU v. Johnson,
194 F.3d 1149 (10th Cir. 1999) (New Mexico), ACLU v. Goddard, Civ. 00- 0505 (D. Ariz. Aug.
11, 2004) (Arizona), Southeast Booksellers v. Ass’n v. McMaster, 282 F. Supp. 2d 389 (D.S.C.
2003) (South Carolina), American Library Association v. Pataki, 969 F. Supp. 160 (S.D.N.Y.
1997) (New York).
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9. As such, Plaintiffs seek to have the Act declared unconstitutional and void, and to have

   Defendants enjoined from enforcing it—both preliminarily, pending the hearing and

   determination of this action, and permanently.

                                 JURISDICTION AND VENUE

10. This case arises under the United States Constitution and the laws of the United States and

   presents a federal question within this Court’s jurisdiction under Article III of the

   Constitution and 28 U.S.C. § 1331 and 28 U.S.C. § 1343(3). It seeks remedies under 28

   U.S.C. §§ 2201 and 2202, 42 U.S.C. §§ 1983 and 1988, and Fed. R. Civ. P. 65.

11. Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part of the

   events giving rise to the claim occurred in this district.

                                             PARTIES

12. Plaintiff Free Speech Coalition, Inc. (FSC) is a not-for-profit trade association incorporated

   under the laws of California with its principal place of business in Canoga Park, CA. FSC

   assists film makers, producers, distributors, wholesalers, retailers, internet providers,

   performers, and other creative artists located throughout North America in the exercise of

   their First Amendment rights and in the vigorous defense of those rights against censorship.

   Founded in 1991, the Free Speech Coalition currently represents hundreds of businesses and

   individuals involved in the production, distribution, sale, and presentation of constitutionally-

   protected and non-obscene materials that are disseminated to consenting adults via the

   internet. Most of that material would fit within Utah’s statutory definition of “material

   harmful to minors.” The Free Speech Coalition sues on its own behalf and on behalf of its

   members to vindicate its own constitutional rights, its members’ constitutional rights, and


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    those of their owners, officers, employees, and current and prospective readers, viewers, and

    customers.

13. Plaintiff D.S. Dawson2 is a 30-year-old man born in Provo, UT and currently living in

    Pleasant Grove, UT. He graduated with a degree in Finance from Utah Valley University and

    worked for Goldman Sachs for five years in various roles (most recently, as an investment

    banking analyst in New York City). He returned to Utah and joined a renewable energy

    startup as a financial analyst until the company was acquired, after which he managed his

    own investment portfolio for a short time through a volatile market. Dawson began writing

    gay erotica as a hobby in 2020 but transitioned to full-time writing in the late Fall of 2022.

    He writes under three pennames, each confined to a different subgenre—one for rough gay

    BDSM, another for gay erotica influenced by Japanese anime-culture, and the third for

    romantic gay erotica (read mostly by straight women). His stories are sold as e-books and

    paperbacks on Amazon, and for several months, he has used AI voice synthesis software to

    offer his BDSM titles in audio format. These audiobooks are sold on e-commerce platform

    Gumroad, and he drives traffic to this site by posting previews on adult sites PornHub and

    xHamster (promotion that he credits with nearly all of his audiobook sales to date). He plans

    to adapt his other titles to audio format soon. As nobody else on the internet is producing gay

    erotica as AI-read audiobooks, the audio format is a way for Dawson to reach a new

    audience, including customers who are blind. Because PornHub has shut down access to

    Utahns, Dawson has been unable to access his own account and intends to buy a VPN



2
 Dawson is one of several pen names under which the Plaintiff publishes his work. He will file
with the court a motion to proceed pseudonymously.
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      subscription as an end-around. The Act has Dawson concerned about the viability of his

      small business.

14. Plaintiff John Doe3 is a 74-year-old attorney who moved to Utah in 1966 to attend Brigham

      Young University, where he majored in Political Science and Sociology. He later earned his

      law degree from the University of Utah College of Law and has practiced law in Utah ever

      since. He is a member of the New York and Utah Bar Associations, and he is admitted to the

      United States Tax Court, the Tenth Circuit Court of Appeals, and the United States Supreme

      Court. As part of his legal practice, Doe represents various adult bookstores and sexual

      device manufacturers, which requires that he occasionally visit websites that contain a

      substantial portion of material that may be deemed “harmful to minors” under the Act. Thus,

      the law requires Doe to provide verified identification to access those websites. He finds such

      a requirement repugnant to his core values of privacy and freedom. And because Utah’s only

      digital identification card does not offer online verification capabilities, he currently has no

      way to access those sites at all.

15. Plaintiff Deep Connection Technologies Inc. (DCT) is a business corporation organized

      under the laws of Delaware with its principal place of business in San Francisco, CA. DCT

      operates O.school, a judgment-free online educational platform focused on sexual wellness.

      Andrea Barrica, O.school’s founder and CEO, is a queer woman of color who has grown

      O.school to reach more than 25 million people globally, 4.2 million across the United States,

      and 39,000 across Utah. O-school’s mission is to help people worldwide improve their sexual

      health, power, and confidence. Previously, Barrica co-founded inDinero.com, the leading


3
    John Doe is a pseudonym. He will file with the court a motion to proceed pseudonymously.
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   financial solution for growing startups, and served as a partner at 500 Startups, a global

   venture capital fund where she worked with hundreds of startup companies. Barrica was

   raised in a religious, conservative Filipino family that preached abstinence, and she received

   only fear-based sex education in public schools. Seeking support and information about sex

   and sexuality, Barrica was unable to find reliable resources online, leading her to launch

   O.school in 2017 in order to change the way people learn about sexuality. She is the author

   of Sextech Revolution: The Future of Sexual Wellness, and she is a professional speaker,

   having presented for TED Unplugged, SXSW, the Women in Tech Festival, UN Women,

   Planned Parenthood, and others. Barrica fears that O.school contains a “substantial portion”

   of content that meets the statutory definition of “material harmful to minors.” As she believes

   that O.school provides critical sex education that is appropriate (and necessary) for older

   minors, she opposes any age-verification measure that would preclude those teens from

   accessing O.school’s content.

16. Plaintiff Charyn Pfeuffer (Pfeuffer) is a 50-year-old woman living in Seattle, WA. She has

   written professionally about sex and relationships for 25 years and has been creating online

   sexual content for three. Pfeuffer’s writings have been published by sites that do not contain

   a “substantial portion” of “material harmful to minors” (like Refinery29, Thrillist, Fodor’s

   The Daily Dot, Men’s Health), as well as some sites that very well might (like Kinkly). She

   archives her written work in an online portfolio and shares it via her social media platforms,

   working around the blunt censorship filters (e.g., by substituting words like “seggs” for

   “sex”). More recently, through her online video sex work, she has discovered an endless

   array of fans seeking someone to speak with, including committed partners interested in


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   exploring a particular fantasy before bringing it into their real world relationships; seniors

   looking for light flirtation; recently single men and women looking for consolation;

   psychologically isolated people (especially active-duty and former military personnel) who

   have been failed by traditional support systems; and those pursuing basic sexual education,

   including what lubricants to buy (and when to use them), how to perform oral sex, and how

   to talk about consent and establish boundaries. On webcam sites OnlyFans and SextPanther,

   much of Pfeuffer’s content meets the statutory definition of “material harmful to minors,”

   and although Pfeuffer is fastidious about ensuring that her fans are adults, she worries that

   her low-tech efforts do not meet the definition of “reasonable age verification methods.”

17. Plaintiff JFF Publications, LLC (JFF) is a limited liability company organized under the laws

   of Delaware with its principal place of business in Broward County, FL. It has one Member,

   a natural person who is a citizen of Florida. JFF operates an internet-based platform at the

   domain <JustFor.Fans> that allows independent producers/performers of erotic audiovisual

   works to publish their content and provide access to fans on a subscription basis. Each

   producer/performer operates and maintains an individual JustFor.Fans channel, which may

   contain photographs or videos and permits the exchange of messages between

   producers/performers and fans. JFF developed and continues to enhance the software and

   features that drive the JFF platform, it arranges third-party billing capabilities, and it

   otherwise maintains the platform. Although it develops and implements advertising and

   marketing plans for the platform, many of the independent producers/performers selling

   subscriptions on the platform implement their own marketing plans to drive customers to

   their specific JFF channel. Most often, producers/performers maintain a social media


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    presence through which they encourage their fans to purchase a subscription to their

    JustFor.Fans channel, sometimes providing a direct link to the JFF platform. JFF is confused

    about what constitutes “reasonable age verification methods” required by the Act and

    concerned about the costs of compliance.

18. Defendant Jess L. Anderson is the Commissioner of Utah’s Department of Public Safety,

    which includes the Driver License Division (DLD).4 The DLD manages Utah’s Mobile

    Driver’s License (mDL) Program, which provides an official copy of a user’s driver license

    or identification card to his or her mobile device.5 Users may download the application from

    public app stores and visit a DLD office to have their identity verified and their mDL

    provisioned directly into that app, or they may perform an at-home self-registration pursuant

    a process outlined by the DLD.6 The “reasonable age verification methods” required by the



4
  See https://dpsadmin.utah.gov/commissioners/commissioner-jess-l-anderson/.
5
  See https://dld.utah.gov/utahmdl/.
6
  See https://dld.utah.gov/mdlfaqs/, which explains:
        The license holder will: (1) download the app from the app store and then (2)
        confirm your mobile number and email and then (3) scan the 2D barcode on the
        back of the license and then (4) take a selfie and do a liveness detection. If the
        selfie matches the photo previously taken at a Driver License office and if the data
        on the back of the license matches the valid data in the Driver License database,
        then the license will be provisioned onto the phone.
        The mDL data has been signed by Utah DLD when provisioned to your device.
        That digital signature makes it an official document that you control. The system
        uses the private keys on your device to encrypt each data element and ensure that
        only you can use it and share data. No other entity can access or read the mDL
        data without your consent.
        A relying party (i.e., a business, restaurant, bank, etc.) will have a verifier app that
        contains a public key from all trusted issuers (such as Utah DLD.) The verifier
        receives encrypted data from you and authenticates that data with the correct
        public key. This ensures that the mDL data is authoritative (comes from the
        DLD), has not been altered, and was issued to you. If all the data elements you
        shared match, the credential is verified. If there has been any tampering or
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   Act are explicitly satisfied where “the person seeking to access the material” is prompted to

   provide “a digitized identification card.” Section 78B-3-1001(2). Utah’s Mobile Driver’s

   License (mDL) Program provides the only qualifying “digitized identification card,” but it

   does not yet provide for the online verification necessary for the card to be of any use to

   putative providers and viewers of “material harmful to minors” online.

19. Sean D. Reyes is the Attorney General of the State of Utah. In that capacity, he “shall be the

   legal adviser of the State officers, except as otherwise provided by this Constitution, and

   shall perform such other duties as provided by law.” UTAH CONST. Art. VII, § 16. Among

   those other duties, the “Attorney General shall . . . prosecute or defend all causes to which

   the state or any officer, board, or commission of the state in an official capacity is a party,

   and take charge, as attorney, of all civil legal matters in which the state is interested[.]” UTAH

   CODE ANN. § 67-5-1(1)(b).

                                              FACTS

   I.      Communication Over the Internet

20. The internet is a decentralized, global medium of communication that links people,

   institutions, corporations, and governments around the world. It is a giant computer network

   that interconnects innumerable smaller groups of linked computer networks and individual

   computers. The internet connects an estimated 5.39 billion people—or 68% of the world’s

   population, and in Utah, it is estimated that 84.4% of residents are internet users.7



        changes to the data, it will not be verified. The relying party can then approve
        your transaction.
7
  See http://www.internetworldstats.com/stats.htm;
https://www.statista.com/statistics/184691/internet-usage-in-the-us-by-state/.
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21. Because the internet merely links together numerous individual computers and computer

   networks, no single entity or group of entities controls the material made available on the

   internet or limits the ability of others to access such materials. Rather, the range of digital

   information available to internet users is individually created, maintained, controlled, and

   located on millions of separate individual computers around the world.

22. The internet presents extremely low entry barriers to anyone who wishes to provide or

   distribute information or gain access to it. Unlike television, cable, radio, newspapers,

   magazines or books, the internet provides the average citizen and business, whether large or

   small, with an affordable means for communicating with, accessing, and posting content to a

   worldwide audience “with a voice that resonates farther than it could from any soapbox.”

   Reno, 521 U.S. at 870. Although the majority of the information on the internet does not

   depict or describe nudity or sexual activity, such material is indeed widely available on the

   internet.

23. An Internet Protocol (IP) address is a unique address that identifies a connection to a device

   on the internet or a local network, much like a telephone number is used to connect a

   telephone to other telephones. In essence, an IP address is the identifier that allows

   information to be sent between devices on a network. Internet Service Providers (ISPs) and

   telecommunications companies control blocks of IP addresses, and the location of an internet

   connection can be roughly determined according to the geo-location those companies

   assigned the IP address associated with a connection.

24. A Virtual Private Network (VPN) functions as an intermediary between an individual

   computer and the targeted server. It hides the user’s actual public IP address and instead


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   “tunnels” traffic between the user’s device and a remote server. Setting up a VPN is free and

   simple, and doing so permits users to hide their location while browsing the web.

   II.     The Act

25. In 2023, the Utah State Legislature enacted, and Governor Spencer Cox signed into law, S.B.

   287 (the Act), codified at Sections 78B-3-1001 and 78B-3-1002 of the Utah Code. The

   operative provisions of the Act are as follows:

   78B-3-1001. Definitions.

   As used in this chapter:

   (1) "Commercial entity" includes corporations, limited liability companies, partnerships,
   limited partnerships, sole proprietorships, or other legally recognized entities.

   (2) "Digitized identification card" means a data file available on any mobile device which has
   connectivity to the Internet through a state-approved application that allows the mobile
   device to download the data file from a state agency or an authorized agent of a state agency
   that contains all of the data elements visible on the face and back of a license or identification
   card and displays the current status of the license or identification card.

   (3) "Distribute" means to issue, sell, give, provide, deliver, transfer, transmute, circulate, or
   disseminate by any means.

   (4) "Internet" means the international computer network of both federal and non-federal
   interoperable packet switched data networks.

   (5) "Material harmful to minors" is defined as all of the following:

   (a) any material that the average person, applying contemporary community standards, would
   find, taking the material as a whole and with respect to minors, is designed to appeal to, or is
   designed to pander to, the prurient interest;

   (b) material that exploits, is devoted to, or principally consists of descriptions of actual,
   simulated, or animated display or depiction of any of the following, in a manner patently
   offensive with respect to minors:

   (i) pubic hair, anus, vulva, genitals, or nipple of the female breast;

   (ii) touching, caressing, or fondling of nipples, breasts, buttocks, anuses, or genitals; or


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(iii) sexual intercourse, masturbation, sodomy, bestiality, oral copulation, flagellation,
excretory functions, exhibitions, or any other sexual act; and

(c) the material taken as a whole lacks serious literary, artistic, political, or scientific value
for minors.

(6) "Minor" means any person under 18 years old.

(7) "News-gathering organization" means any of the following:

(a) an employee of a newspaper, news publication, or news source, printed or on an online or
mobile platform, of current news and public interest, while operating as an employee as
provided in this subsection, who can provide documentation of such employment with the
newspaper, news publication, or news source; or

(b) an employee of a radio broadcast station, television broadcast station, cable television
operator, or wire service while operating as an employee as provided in this subsection, who
can provide documentation of such employment.

(8) "Publish" means to communicate or make information available to another person or
entity on a publicly available Internet website.

(9) "Reasonable age verification methods" means verifying that the person seeking to access
the material is 18 years old or older by using any of the following methods:

(a) use of a digitized information [sic] card as defined in this section;

(b) verification through an independent, third-party age verification service that compares the
personal information entered by the individual who is seeking access to the material that is
available from a commercially available database, or aggregate of databases, that is regularly
used by government agencies and businesses for the purpose of age and identity verification;
or

(c) any commercially reasonable method that relies on public or private transactional data to
verify the age of the person attempting to access the material.

(10) "Substantial portion" means more than 33-1/3% of total material on a website, which
meets the definition of "material harmful to minors" as defined in this section.

(11) (a) "Transactional data" means a sequence of information that documents an exchange,
agreement, or transfer between an individual, commercial entity, or third party used for the
purpose of satisfying a request or event.

(b) "Transactional data" includes records from mortgage, education, and employment
entities.


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       Section 2. Section 78B-3-1002 is enacted to read:

       78B-3-1002. Liability for publishers and distributors -- Age verification -- Retention of data -
       - Exceptions.

       (1) A commercial entity that knowingly and intentionally publishes or distributes material
       harmful to minors on the Internet from a website that contains a substantial portion of such
       material shall be held liable if the entity fails to perform reasonable age verification methods
       to verify the age of an individual attempting to access the material.

       (2) A commercial entity or third party that performs the required age verification shall not
       retain any identifying information of the individual after access has been granted to the
       material.

       (3) A commercial entity that is found to have violated this section shall be liable to an
       individual for damages resulting from a minor's accessing the material, including court costs
       and reasonable attorney fees as ordered by the court.

       (4) A commercial entity that is found to have knowingly retained identifying information of
       the individual after access has been granted to the individual shall be liable to the individual
       for damages resulting from retaining the identifying information, including court costs and
       reasonable attorney fees as ordered by the court.

       (5) This section shall not apply to any bona fide news or public interest broadcast, website
       video, report, or event and shall not be construed to affect the rights of a news-gathering
       organization.

       (6) No Internet service provider, affiliate or subsidiary of an Internet service provider, search
       engine, or cloud service provider shall be held to have violated the provisions of this section
       solely for providing access or connection to or from a website or other information or content
       on the Internet, or a facility, system, or network not under that provider's control, including
       transmission, downloading, storing, or providing access, to the extent that such provider is
       not responsible for the creation of the content of the communication that constitutes material
       harmful to minors.

26. The Act became effective on May 3, 2023.

III.      The Act’s Impact

27. With the Act in effect, commercial websites providing content that they are concerned might

       meet the vague statutory definition of “material harmful to minors” may respond in one of

       three ways: by (1) diverting all web traffic from Utah IP addresses, thus precluding all online


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   visitors from this State; (2) developing (at great expense) their own age-verification

   platforms to interact with mDL (again, at great expense) to age-verify visitors to their site (as

   the mDL app does not, by itself, afford digital passage to any website); or (3) declining to

   abide by the terms of the Act, thus risking lawsuits. It is a Hobson’s Choice they should not

   have to make.

   A. The Ineffectiveness of the Act and the Effectiveness of Alternative Means

28. While placing overwhelming burdens on certain providers of content online, the Act will fail

   to accomplish its goal of protecting Utah’s minors. Because the Act requires age-verification

   in order to access only those websites that offer “material harmful to minors” as a

   “substantial portion” of their total content (defined as one-third or more), minors will face no

   impediment to obtaining such material from websites watered down––either incidentally or

   purposefully in order to avoid the consequences of the Act–– with other content unoffensive

   to the sensibilities of the Utah legislature. Whether “content” percentages are measured in

   bytes of material, discrete web pages, seconds of video, words of a sexual nature, or some

   other metric, and whether it includes linked material, is entirely unclear. What is clear is

   that—given enough non-“harmful” material on a single site—even the providers of material

   that is “harmful to minors” under any definition earn a pass under the Act.

29. Minors also have other routes to obtaining “material harmful to minors” over the internet,

   including by: (1) pursuing such material published by persons and entities in other countries

   beyond the jurisdiction of Utah’s state or federal courts; (2) using a virtual private network

   (VPN) to create an encrypted connection between the device and a remote server operated by




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      the VPN service in another state or country8; and (3) resorting to the dark web to obtain

      material far more harmful than what is available from popular adult websites.

30. At the same time, there are alternative means available for Utah parents to address the stated

      goal of the Act. The two major personal computer operating systems, Microsoft and Apple,

      include parental control features straight out of the box. Almost all browsers, including

      Google Chrome, Mozilla Firefox, Microsoft Edge, and Apple’s Safari, also have parental

      control options. If parents want to add additional parental control features, they may easily

      purchase supplementary software like Bark or NetNanny or even download additional

      software for free, including Questodio, Kaspersky Safe Kids, FamilyKeeper, and others.

      These features enable parents to block access to sexually explicit materials on the Web,

      prevent minors from giving personal information to strangers by e-mail or in chat rooms,

      limit a child’s screentime, and maintain a log of all online activity on a home computer.

      Parents can also use screening software that blocks messages containing certain words, as

      well as tracking and monitoring software. A parent also may restrict and observe a child’s

      use of the internet merely by placing a computer in a public space within the home. All of

      these methods constitute “less restrictive means” for accomplishing the same ends.

31. Over twenty years ago, the United States Supreme Court recognized that even the parental

      filtering programs available at the time were less restrictive and certainly more effective than

      government-imposed age-verification methods. See Ashcroft v. ACLU, 542 U.S. 656, 666

      (2002). In that case, although a credit card was required for age-verification, the Court noted

      that it was still a less effective option due to the high rate of false certification.


8
    See https://www.pcmag.com/how-to/what-is-a-vpn-and-why-you-need-one.
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   B. The Impact on Older Minors

32. The impact of the Act and its constitutionality depends, to a significant extent, on the

   meaning of “material harmful to minors” under Utah law. In Ginsberg v. New York, 390 U.S.

   629 (1968), the United States Supreme Court established an obscenity test for minors,

   variable as to each of its three components—whether the material appeals to the prurient,

   shameful, or morbid interest of minors in sex; whether the material is offensive to the

   average adult applying contemporary community standards with respect to what is suitable

   for minors; and whether material taken as a whole lacks serious literary, artistic, political, or

   scientific value for minors.

33. With respect to at least the second and third components of this test—what is suitable for

   minors under contemporary community standards, and whether the material has serious value

   for minors—the variability relates to the age and maturity of the minor. There is a broad

   range of material that has serious literary, artistic, political, or scientific value for at least

   some 16- and 17-year-olds which might legitimately be considered “harmful” to a 10-year-

   old. For example, materials about sexual relations, the risk of sexually-transmitted diseases,

   sexual health, and the enjoyment of sex certainly have serious value to many 16- and 17-

   year-olds in Utah (where 16-year-old minors may marry with parental consent).

34. Because the Act apparently includes material appropriate for older minors within the scope

   of “material harmful to minors” that requires age verification, it is unconstitutional for the

   reasons set forth throughout this Complaint. Whether material is designed to appeal to the

   prurient interest is determined by an average person applying contemporary community

   standards with respect to minors. Whether material is presented in a “patently offensive”


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    manner is, again, considered with respect to minors. And whether the material lacks serious

    literary, artistic, political, or scientific value is, again, considered with respect to minors.

35. The Act fails to explicitly exclude material appropriate for older minors from the “material

    harmful to minors” for which access is conditioned upon proof of majority. Requiring

    persons who publish such material on the internet to place it behind an age-verification wall

    violates the First and Fourteenth Amendments by infringing the constitutional rights of both

    older minors (who are denied access to constitutionally-protected material), and the

    commercial entities that publish or distribute such material.

    C. The Impact on All Minors

36. Requiring age verification to access a website whose content offerings include a “substantial

    portion” of “material harmful to minors” means denying those minors access to websites

    whose content offerings are overwhelmingly not classified as “material harmful to minors.”

    See Section 78B-3-1001(10) (defining “substantial portion” to mean “more than 33-1/3% of

    total material on a website”). The Act aims to preclude all minors from accessing even those

    websites offering content, two-thirds of which is plainly not violative of the already vague

    and overbroad standard defining “material harmful to minors.” Conceivably, websites like

    Twitter could soon find themselves falling with the Act’s ambit.9

    D. The Impact on Adults

37. The Act demands that, as a condition of access to constitutionally protected content, an adult

    must provide a digital proof of identity to adult content websites that are doubtlessly capable



9
 See https://www.reuters.com/technology/exclusive-where-did-tweeters-go-twitter-is-losing-its-
most-active-users-internal-2022-10-25/ (noting the growth of adult content on Twitter).
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     of tracking specific searches and views of some of the most sensitive, personal, and private

     contents a human being might search for. Although the Act provides a cause of action to any

     website visitor whose identifying information is retained by the website, such provision

     offers cold comfort to adults who value the privacy of their search history for non-obscene

     pornographic material more than a speculative damages award in an era of rampant data

     leaks—including from websites purporting to place a premium on privacy and discretion.10

     The inevitable result is that at least some portion of Utah adults will feel the chill of the Act

     and forego accessing this constitutionally-protected material.

     E. The Impact on Non-Pornographic Websites

38. Because of the Act’s vagueness, cautious operators of even non-pornographic websites must

     place an age-verification content wall over their entire websites if they wish to continue

     communicating with Utah audiences without risking ruinous tort liability. Doing so labels

     them an “adult business”—resulting not only in declining internet traffic, but social stigma,

     lost ad revenue, and exclusion from public or private programs or curricula. If they are a

     website that processes payments, they may lose the ability to accept VISA, Mastercard,

     Amex, and other major credit cards and be forced to use third-party billing companies that

     charge fees up to 15% of the purchase price, rather than the 3-5% typically charged by credit

     card companies. They also may face difficulty purchasing business liability insurance and

     hiring employees. Some of the Supreme Court’s leading First Amendment precedents have

     established the principle that the government may not compel persons to speak a particular



10
  See, e.g., https://www.wired.com/2015/08/happened-hackers-posted-stolen-ashley-madison-
data/ (discussing Ashley Madison data breach).
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   message. See Wooley v. Maynard, 430 U.S. 705 (1977) (requiring motorists to display state’s

   “live free or die” motto on license plate found to violate First Amendment); Hurley v. Irish-

   American Gay, Lesbian and Bisexual Group of Boston, Inc., 515 U.S. 557 (1995) (finding

   First Amendment violation where parade organizers were forced to accept groups espousing

   contrary messages). That principle is simply incompatible with the requirement of

   commercial entities that find themselves on the margins of the Act’s reach.

   F. Vagueness and Overbreadth

39. Because many of the terms in the Act are vague and overbroad, the Act further chills the

   speech of providers of content online and restricts the availability of certain material to those

   entitled and wishing to receive it. The Act is riddled with vague words, phrases, and

   requirements, including the following.

40. The phrase “taken as a whole” in the definition of “material harmful to minors” is vague

   because what constitutes the “whole” is unclear in the context of the internet generally, or a

   particular website more specifically. Should one consider only a specific article, certain text,

   or an individual image on a website? Or should one consider the web page on which that text

   or image appears? Or the entire website? And should one include linked material?

41. The phrase “substantial portion,” defined as “more than 33-1/3% of total material on a

   website,” is vague insofar as it fails to explain how “total material” is calculated. Is it by the

   volume of data? The number of posts? What is the proper metric to measure? Gigabytes?

   Character count? Number of images? Video runtime? And what about linked material? May

   a website avoid the problem altogether by providing a link to all the anodyne content in the

   local public library?


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42. The term “minor,” defined as “any person under 18 years old,” is vague insofar as it fails to

   designate the whole from which a content provider must ascertain the average. Pursuant to

   the Act, whether material is designed to appeal to the prurient interest, is presented in a

   “patently offensive manner,” or lacks serious literary, artistic, political, or scientific value is

   determined with respect to minors. Does this “minor” refer to an average 17-year-old days

   from an 18th birthday? Or some hypothetical pre-teen reflecting the median sensibility across

   all minors, from infants to high school seniors? Or some other person or position?

43. The statutory catch-all permitting “any commercially reasonable method that relies on public

   or private transactional data” as a means of verifying a user’s age provides no guideposts

   whatsoever, as “commercially reasonable” is a vague term not defined by the Act.

44. Reference to “contemporary community standards” is vague and overbroad, due to the

   borderless nature of the internet. Utah is a diverse state, and the “contemporary community

   standards” vary widely from Park City to Provo. But when a content provider publishes

   material on a website, the same material is made available in every Utah county. To avoid

   running afoul of the Act, websites must abide by a “most prudish county” standard—

   restricting (in the case of minors) or chilling (in the case of adults) substantial quantities of

   constitutionally protected content.

45. It is unclear what, exactly, a commercial entity must “know” or “intend” to be liable under

   the Act. Must the entity merely intend to publish or distribute material that, incidentally,

   happens to fit the statutory definition of “material harmful to minors?” Must the entity know

   that the published material meets that definition? Must it know that the publishing website’s

   offerings, as a whole, contain at least one-third such material? The question is of particular


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   salience to commercial entities that publish or distribute materials on websites owned and

   operated by other commercial entities—potentially tasking the former with a duty to

   inventory the full array of materials offered by the latter.

   G. The Prior Restraint

46. The Act effectively requires that, before a covered commercial website may disseminate any

   constitutionally protected expression to a consenting adult requesting it, the website must

   affirmatively employ a “reasonable age verification method” on pain of express statutory

   liability. The requirement thus imposes a classic prior restraint on speech.

47. Prior restraints are not unconstitutional per se, but they come to the courts bearing “a heavy

   presumption against [their] constitutional validity.” Bantam Books, Inc. v. Sullivan, 372 U.S.

   58, 70 (1963). Prior restraints arising from a government pre-approval requirement are

   presumptively unconstitutional because they pose the danger that any discretion exercised in

   connection with the approval process may become an instrument of content-based censorship

   that will impose a serious chill upon the willingness of affected speakers to speak.

   Government may not require this sort of pre-approval process unless the discretion involved

   in administering it—both substantive and procedural—is tightly constrained to avoid the

   inherent censorship dangers.

48. With respect to those procedural safeguards, the pre-approval process must be administered

   so that the presumption favors allowing the expression in question; the burden must always

   fall on the side of disallowing the expression. Secondly, the pre-approval process must

   operate rapidly and without unnecessary delay. Finally, the costs of the pre-approval process,




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   if assessed to the putative speaker at all, must also be tightly and objectively constrained so

   as to avoid unnecessarily burdening the expression in question.

49. At two points in its operation, the Act imposes unconstitutional prior restraints on the

   communication between covered websites and adults seeking to access them. First, covered

   websites must employ “reasonable age verification methods” when individuals attempt to

   access their expression. But even assuming that these statutory specifications suffice, nothing

   requires that any such methods be made available to all website operators, operate reliably

   with common computer software, or even exist in the first place. The State of Utah may not

   statutorily impose a prior restraint only to leave its operation entirely to others who may or

   may not take up the mantle—particularly when leaving key terms like “commercially

   reasonable” undefined. Moreover, nothing constrains how quickly such systems must operate

   or what fees they may charge for their services.

50. The same unconstrained discretion applies to the digitized identification card age verification

   option. Although one such card presently exists for a limited number of operating systems,

   the State of Utah does not provide it directly but only through a commercial entity that may

   or may not continue to exist, may or may not choose to do business with covered websites,

   and may or may charge constitutionally permissible fees for use of its product. And critically,

   the digitized card does not yet provide for the online verification necessary for it to be of any

   use to putative providers and viewers of “material harmful to minors” online.

51. Thus, nothing in the Act requires the State or its contractors to operate a properly constrained

   prior restraint on speech, and nothing prevents content-based discrimination that would leave

   covered websites without any “reasonable age verification methods” at all.


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   H. The Exception for “News-Gathering” Organizations

52. The Act purports to exempt any “bona fide news or public interest broadcast, website video,

   report, or event and shall not be construed to affect the rights of a news-gathering

   organization.” Section 78B-3-1002(5). “News-gathering organization” is defined to include

   “(a) an employee of a newspaper, news publication, or news source, printed or on an online

   or mobile platform, of current news and public interest, while operating as an employee as

   provided in this subsection, who can provide documentation of such employment with the

   newspaper, news publication, or news source; or (b) an employee of a radio broadcast

   station, television broadcast station, cable television operator, or wire service while operating

   as an employee as provided in this subsection, who can provide documentation of such

   employment.” Section 78B-3-1001(7). Through this definition, the Act makes impermissible

   distinctions among media providers—exempting any employee of chosen media while

   offering no such protection to independent (non-employee) “news gatherers,” or to bloggers,

   vloggers (video bloggers), or podcasters whose platforms do not fit within the definition of

   “news-gathering organization.”

53. This vague exemption seeks to preserve the free speech rights of some while trampling on

   the free speech rights of others who publish the same content. While independent news

   gatherers receive no exemption, news websites like Str8upgayporn.com, xbiz.com, and

   avn.com—which focus on the adult entertainment industry and contain a significant amount

   of material otherwise regulated by the Act—likely are not subject to the age-verification

   procedures. By making this distinction among media, the Act violates the free speech and




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   freedom of the press provisions of the First Amendment, and the Equal Protection Clause of

   the Fourteenth Amendment.

   I. The Invasion of Privacy Interests

54. The Act violates the right to substantive due process as guaranteed by the Fourteenth

   Amendment to the United States Constitution, as it impinges upon liberty and privacy

   interest in one’s own private sexual conduct. See Lawrence v. Texas, 539 U.S. 558 (2003).

55. Offline age-verification does not produce a ledger of age-verified adults; one may enter an

   adult bookstore or sex shop merely by presenting a license proving his or her age of majority,

   and the clerk need not do anything beyond checking the date of birth and returning the ID.

   But age-verification over the internet, in the manner contemplated by the Act, invites the

   risk, real or perceived, that the viewer’s digital “fingerprint” will be left on the site—and not

   just on the website’s “front door,” but on every bit of digital content examined. It’s a striking

   invasion of privacy at a time and place when a person legitimately expects it most. No

   governmental interest exists sufficient to justify this intrusion.

   J. The Burden on Interstate and Foreign Commerce

56. The Act burdens interstate commerce by impinging on communication, protected by the First

   Amendment, between out-of-state content-providers and Utahns in several ways.

57. The Act effectively requires a website operator to choose between (on one hand) diverting

   web traffic from Utah or (on the other) making the laborious determination of whether more

   than one-third of its content fits the vague and overbroad definition of “material harmful to

   minors” and then instituting the State’s required age-verification protocols. And because

   satellites and cellular towers do not appreciate state boundaries, residents of border towns in


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      the neighboring states of Idaho, Colorado, New Mexico, Arizona, and Nevada might find

      their devices restricted from accessing certain websites, too.

58. Moreover, Utah might be among the first to market with these age-verification requirements,

      but it surely won’t be the last, as Louisiana, Virginia, West Virginia, Mississippi, Arkansas,

      Florida, and others have passed or are considering similar legislation. In Washington, D.C.,

      Utah’s own Sen. Mike Lee has introduced a bill that would similarly require age verification,

      but on a national level.11 With each state or locality defining “material harmful to minors”

      differently, requiring consideration of different community standards, and demanding

      different age-verification technologies and protocols, website operator compliance becomes

      exorbitantly laborious, confusing, and expensive. The result might be a total shutdown of

      adult websites or stringent, across-the-board age-verification protocols affecting users from

      states that have not imposed similar restrictions on web content. The interstate exchange of

      constitutionally-protected material clearly outweighs any one state’s—including Utah’s—

      legitimate interests in requiring age verification to protect minors from certain adult content

      online.

      K. The Express Conflict with Federal Statutory Law

59. Under Section 230, “[n]o provider or user of an interactive computer service shall be treated

      as the publisher or speaker of any information provided by another information content

      provider.” 47 U.S.C § 230(c)(1).

60. Plaintiff JFF is a “provider or user of an interactive computer service” within the intendment

      of the statute. See 47 U.S.C § 230(f)(2) (defining “interactive computer service” to mean


11
     See https://www.lee.senate.gov/2022/12/sen-lee-introduces-bill-to-protect-children-online.
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   “any information service, system, or access software provider that provides or enables

   computer access by multiple users to a computer server, including specifically a service or

   system that provides access to the Internet and such systems operated or services offered by

   libraries or educational institutions.”). Plaintiff does not produce content that could plausibly

   be deemed “material harmful to minors.” Rather, it merely provides the platform for other

   “information content providers.” See 47 U.S.C § 230(f)(3) (defining term to mean “any

   person or entity that is responsible, in whole or in part, for the creation or development of

   information provided through the Internet or any other interactive computer service”).

61. In seeking to render JFF and other providers and users of “interactive computer services”

   liable on account of the actions of “content providers,” the Act stands in direct conflict with

   Section 230, which expressly preempts inconsistent state laws. See 47 U.S.C § 230(e)(3).

   Article VI, Paragraph 2 of the U.S. Constitution requires that federal law take precedence in

   such case.

   L. The Need for Injunctive Relief

62. The passage of the Act has placed Plaintiffs in reasonable fear that, if they continue to

   exercise their constitutional rights, they will be sued under the Act by any host of individuals

   alleging harm. Plaintiffs have no adequate remedy at law.

63. Moreover, because the Act creates a private right of action by which Utah residents—and not

   state actors—are empowered to do the State’s bidding, protecting the constitutional rights at

   issue requires enjoining the Commissioner of Utah’s Department of Public Safety from

   permitting its data files to be downloaded for use by the mDL Program, and the Attorney

   General from otherwise intervening to enforce the Act.


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                                      CAUSES OF ACTION

                                     COUNT I (All Plaintiffs)

                Violation of Free Speech Rights Under the First and Fourteenth
                         Amendments of the United States Constitution

64. Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth entirely herein.

65. The Act violates the First Amendment (made applicable to the states through the Fourteenth

   Amendment) both on its face and as applied to Plaintiffs because it unconstitutionally

   interferes with their ability to communicate constitutionally protected speech, compels

   speech to the detriment of Plaintiff businesses, and imposes an unconstrained prior restraint

   on speech.

66. The Act violates the rights of Plaintiffs under the First and Fourteenth Amendments to the

   United States Constitution because it is not the least restrictive means of accomplishing any

   compelling governmental purpose.

67. The Act violates the rights of Plaintiffs under the First and Fourteenth Amendments to the

   United States Constitution because it is substantially overbroad.

                                    COUNT II (All Plaintiffs)

          Violation of the Fourteenth Amendment of the United States Constitution

68. Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth entirely herein.

69. The Act violates the rights of Plaintiffs under the Due Process Clause of the Fourteenth

   Amendment (procedural component) because it is impermissibly vague and fails to provide a

   person of ordinary intelligence fair notice of what is prohibited.

70. The Act violates the rights of Plaintiffs under the Due Process Clause of the Fourteenth

   Amendment (substantive component) because it intrudes into the private sexual conduct and

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   proclivities of adults, thus impairing a fundamental right in a manner that is not the least

   restrictive means of accomplishing any compelling governmental purpose.

71. The Act violates the equal protection provisions of the Fourteenth Amendment because, with

   no rational basis for doing so, it exempts certain news-gathering organizations while

   subjecting others its every restriction.

                                    COUNT III (All Plaintiffs)

             Violation of the Commerce Clause of the United States Constitution

72. Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth entirely herein.

73. The Act violates the rights of Plaintiffs under the Commerce Clause because it constitutes an

   unreasonable and undue burden on interstate and foreign commerce.

                                   COUNT IV (Plaintiff JFF only)

                        Violation of the Supremacy Clause and Section 230

74. Plaintiffs repeat and re-allege each of the foregoing paragraphs as if set forth entirely herein.

75. The Act violates the rights of Plaintiff JFF, a provider and user of an “interactive computer

   service” within the meaning of 47 U.S.C. § 230, because it effectively treats Plaintiff as the

   publisher or speaker of material provided by other information content providers. As

   47 U.S.C. § 230(e)(3) states that “[n]o cause of action may be brought and no liability may

   be imposed under any State or local law that is inconsistent” with Section 230, the Act

   violates Section 230.

76. Article VI, Paragraph 2 of the United States Constitution (Supremacy Clause) exalts the laws

   of the United States as “the supreme law of the land” notwithstanding “anything in the




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   constitution or laws of any State to the contrary.” Given the direct conflict between the

   (Utah) Act and the (federal) Section 230, the federal law must preempt the State’s.

                                   PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs respectfully request that the Court:

   A. Declare that UTAH CODE ANN. §§ 78B-3-1001 and 1002 violate the First and Fourteenth

       Amendments to, and the Commerce and Supremacy Clauses of, the United States

       Constitution;

   B. Preliminarily and permanently enjoin Defendants, their officers, agents, servants,

       employees, and attorneys, and those persons in active concert or participation with them

       who receive actual notice of the injunction, from enforcing the Act;

   C. Award Plaintiffs their reasonable costs and fees pursuant to 42 U.S.C. § 1988; and

   D. Grant Plaintiffs such other and further relief as the Court deems just and proper.

Respectfully Submitted,

Dated: May 03, 2023


                                             /s/ Jerome Mooney
                                              ______________________
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